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                        UNITED STATES DISTRICT COURT FOR THE
                            SOU TH ERN D ISTRICT O F FLO RID A
                                      M iam iD ivision

                             CaseNum ber:15-23433-CIV-M O RENO

JESUS SAN TOS andothersim ilarly situated
individuals,

                Plaintiff,


N ZR RETA IL O F TO LED O ,m C.,

               D efendant.


                         FINAL O RDER OF DISM ISSAL AND O RDER
                        DENYIN G ALL PEND ING M OTION S A S M O OT

       THIS CAUSE cam e before the Court upon the Parties' Settlement Agreement and
StipulatedDismissalwithPrejudicesubmittedtoChambersonFebruaa 24.2016.
       THE COURT hasconsidered the noticeand thepertinentportionsofthe record,and isotherwise
fully advised inthe prem ises.Itishereby
       A DJU D G ED that the Parties' Settlem ent A greem ent and Stipulated D ism issal with
PrejudiceisGRANTED and thesettlementisapproved in accordancewithLynn'
                                                                    sFoodStores,
lnc.v.U.S.Dep '
              tofl-abor,679F.2d 1350(11th Cir.1982).ltisalso
       ADJUDGED thatthis Cause isDISM ISSED with prejudice,with each party bearing itsown
feesand costs.Fed.R.Civ.P.41(a)(l)(A)(ii).Further,alIpendingmotionsareDENIED asM OOT with
leavetorenew ifappropriate. TheCourtshallretainjurisdictionto enforcethetermsofthesettlement
agreementforthree monthsfrom thedateofthisOrder.

       D ON E AN D O RDERED in Cham bers atM iam i,Florida,    this J ofFebruary20l6,
                                       < ,'   -   .




                                               ED ERIC O A .M OREN O
                                              UN ITED STA TES DISTR ICT JUD G E
Copies furnished to:
CounselofRecord
